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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     Southern Division

                                                      *
THE WASHINGTON POST, et aI.,                          *
       Plaintiffs,                                    *
v.                                                    *        Case No.: PWG-18-2527

DA VID J. MCMANUS, JR., et aI.,                       *
       Defendants.                                    *
                                                      *

*       *       *       *      *       *       *           *        *      *            *       *       *     *
                                              ORDER

        For the reasons stated in the accompanying Memorandum Opinion filed this same date, it

is, this 3rd day of January, 2019, hereby ORDERED that:

     1. Plaintiffs' Motion for Preliminary Injunction, ECF No.9, IS GRANTED IN PART AND

        DENIED IN PART as follows:

             a. GRANTED with regard to Md. Code Ann., Elec. Law                     S   13-405, as it applies to

                Plaintiffs;

             b. GRANTED with regard to Md. Code Ann., Elec. Law                 S   13-405.1, as it applies to

                Plaintiffs and insofar as it authorizes the state administrator                 of elections to

                investigate potential violations of   S   13-405; and

             c. DENIED as to Md. Code Ann., Elec. Law           S   13-405.2;

     2. Defendants SHALL BE ENJOINED from enforcing S 13-405 and S 13-405.1 as to

        Plaintiffs during the pendency of this action; and
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3. I will schedule a telephone conference call with counsel to discuss the parties' next steps

   in this litigation.




                                                        Paul W. Grimm
                                                        United States District Judge




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